
44 So.3d 183 (2010)
James CEPHUS, Appellant,
v.
The STATE of Florida, Appellee.
No. 3D10-1918.
District Court of Appeal of Florida, Third District.
September 8, 2010.
Rehearing Denied October 18, 2010.
*184 James Cephus, in proper person.
Bill McCollum, Attorney General, for appellee.
Before COPE and CORTIÑAS, JJ., and SCHWARTZ, Senior Judge.
PER CURIAM.
Affirmed. See Johnson v. State, 974 So.2d 1152 (Fla. 3d DCA 2008), review granted, 17 So.3d 705 (Fla.2009). See also Joyner v. State, 988 So.2d 670 (Fla. 3d DCA 2008), review granted, 17 So.3d 705 (Fla.2009).
